978 F.2d 1254
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jerome Julius BROWN, Sr., Plaintiff-Appellant,v.Miss Tammy KEE;  Southland Corporation;  Janie G. Ragland,Claims Supervisor, Defendants-Appellees.
    No. 92-2023.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  October 26, 1992Decided:  November 6, 1992
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  John A. MacKenzie, Senior District Judge.  (CA-90-1543-N)
      Jerome Julius Brown, Appellant Pro Se.
      E.D.Va.
      Dismissed.
      Before ERVIN, Chief Judge, and RUSSELL and WIDENER, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Jerome Julius Brown noted this appeal outside the thirty-day appeal period established by Fed.  R. App.  P. 4(a)(1), and failed to move for an extension of the appeal period within the additional thirty-day period provided by Fed.  R. App.  P. 4(a)(5).  The time periods established by Fed.  R. App.  P. 4 are "mandatory and jurisdictional."   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting  United States v. Robinson, 361 U.S. 220, 229 (1960)).  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.  We therefore deny leave to proceed in forma pauperis and dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    